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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,’ Case No. 08-13141 (KJC)
Debtors. Jointly Administered
Hearing Date: December 13, 2011 at 1:00 p.m, ET
Objection Deadline: December 6, 2011 at 4:00 p.m, ET

NOTICE OF MOTION

TO: (i) the Office of the United States Trustee; (ii) counsel for the Official Committee of Unsecured
Creditors; (iii) counsel for the administrative agents for Tribune Company’s prepetition loan
facilities; (iv) counsel for the administrative agent for the Debtors’ post-petition loan facility;
(v) counsel for the Noteholder Plan Proponents; and (vi) all parties having requested notice
pursuant to Bankruptcy Rule 2002,

PLEASE TAKE NOTICE that, on November 18, 2011, the debtors and debtors in possession
in the above-captioned cases (collectively, the “Debtors”), filed the Motion of Debtors for Order
(1) Approving Supplemental Disclosure Document; (ID Establishing Scope, Forms, Procedures,
and Deadlines for Resolicitation and Tabulation of Votes to Accept or Reject DCL Plan From
Certain Classes; (IID Authorizing Tabulation of Prior Votes and Elections on DCL Plan Made
By Holders of Claims in Non-Resolicited Classes; (IV) Scheduling the Confirmation Hearing and
Establishing Notice and Objection Procedures In Respect Thereof; and (V) Granting Related
Relief (the “Motion”.

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, are: Tribune Company
(0353); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); Califomia
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634), Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc, (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352), Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagte Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc, (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company IT, LLC; KIAH Inc, (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co, of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276), Sun-Sentinel Company (2684), The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc, (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227), Times Mirror Services Company, Inc,
(1326); TMLH 2, Ine. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tnbune Washington Bureau Inc, (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522): Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278), Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc, (4055); Tribune Television Northwest, Inc. (2975); ValuMail, inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., fik/a WTXX
Inc, (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc, (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.

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You are required to file any response to the Motion on or before 4:00 p.m. (ET) on
December 6, 2011.

At the same time, you must also serve a copy of any response upon movant’s attorneys, at
the address listed below, so that it is received by 4:00 p.m. (ET) on December 6, 2011:

SIDLEY AUSTIN LLP COLE, SCHOTZ, MEISEL,
James F, Conlan FORMAN & LEONARD, P.A.
Bryan Krakauer Norman L. Pernick

Kenneth P. Kansa J. Kate Stickles

Jillian K. Ludwig 500 Delaware Avenue, Suite 1410
One South Dearborn Street Wilmington, Delaware 19801
Chicago, Ilinois 60603 Telephone: (302) 652-3131
Telephone: (312) 853-7000 Facsimile: (302) 652-3117

Facsimile: (312) 853-7036

A HEARING ON THE MOTION WILL BE HELD ON DECEMBER 13, 2011 AT 1:60
P.M. (ET) BEFORE THE HONORABLE KEVIN J. CAREY, U.S. BANKRUPTCY JUDGE,
UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824
NORTH MARKET STREET, 5" FLOOR, COURTROOM NO. 5, WILMINGTON, DE 19801.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE
OR HEARING.

Date: November 18, 2011 SIDLEY AUSTIN LLP
James F. Conlan
Kevin T. Lantry
Kenneth P, Kansa
Jillian K. Ludwig
One South Dearborn Street
Chicago, Illinois 60603
Telephone: (312) 853-7000
Facsimile: (312) 853-7036

- and -

COLE, SCHOTZ, MEISEL,
FORMAN & LEONARD, P.A.

By: levthder

Norman L. Petnick (No. 2290)

J. Kate Stickles (No. 2917)

500 Delaware Avenue, Suite 1410
Wilmington, Delaware 19801
Telephone: (302) 652-3131
Facsimile: (302) 652-3117

ATTORNEYS FOR DEBTORS AND
DEBTORS IN POSSESSION

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